











			






IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-63,073-01






EX PARTE BRIAN SCOTT WILSON, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS 


CAUSE NO. 19,790-A IN THE 188TH DISTRICT COURT 

GREGG COUNTY



		

		Per curiam.


	O R D E R



	This is an application for a writ of habeas corpus which was transmitted to this Court 
pursuant to the provisions of Tex. Code Crim. Proc. art. 11.07. Applicant was convicted of
the offense of burglary of a building and sentenced to confinement for twelve years. No
direct appeal was taken. 

	Applicant contends that he is being denied jail time. Specifically, he contends that he
was confined pursuant to a parole violator warrant from June 1997 to November 1997, and
from December 1998 to November 1999.

	The trial court has not entered findings of fact or conclusions of law.  We believe that
Applicant has alleged facts that, if true, might entitle him to relief.  Therefore, it is this
Court's opinion that additional facts need to be developed, and because this Court cannot
hear evidence, the trial court is the appropriate forum.  The trial court shall resolve those
issues as set out in Tex. Code Crim. Proc. art. 11.07, § 3 (d), in that it may order affidavits,
depositions, or interrogatories from TDCJ-Parole Division, or it may order a hearing.  In the
appropriate case the trial court may also rely on its personal recollection.  

	If the trial court elects to hold a hearing, the court shall first decide whether Applicant
is indigent.  If the trial court finds that Applicant is indigent and Applicant desires to be
represented by counsel, the trial court shall then, pursuant to the provisions of Tex. Code
Crim. Proc. art. 26.04, appoint an attorney to represent him at the hearing.  

	Following receipt of additional information, the trial court shall first make findings
of fact as to whether Applicant has exhausted his administrative remedies under Tex  Gov't
Code § 501.0081. If the trial court finds that Applicant has exhausted his administrative
remedies, it shall then  make findings of fact as to whether Applicant was confined pursuant
to a parole violator warrant in this cause and, if so, whether Applicant was credited with such
jail time. The trial court shall also make any further findings of fact and conclusions of law
it deems relevant and appropriate to the disposition of the application for writ of habeas
corpus.

	Because this Court does not hear evidence, Ex Parte Rodriquez, 334 S.W.2d 294 (Tex.
Crim. App. 1960), this application for a post-conviction writ of habeas corpus will be held
in abeyance pending the trial court's compliance with this order.  Resolution of the issues
shall be accomplished by the trial court within 90 days of the date of this order. (1)  A
supplemental transcript containing all affidavits and interrogatories or the transcription of the
court reporter's notes from any hearing or deposition, along with the trial court's
supplemental findings of fact and conclusions of law, shall be returned to this Court within
120 days of the date of this order. (2)

	IT IS SO ORDERED THIS THE 26th  DAY OF April , 2006.





DO NOT PUBLISH                   

	
1.   In the event any continuances are granted, copies of the order granting the continuance
should be provided to this Court.
2.   Any extensions of this time period should be obtained from this Court.


